                                           Case 18-10018-KKS                                    Doc 53                Filed 03/01/18                         Page 1 of 45
 Fill in this information to identify the case:

 Debtor name            Prioria Robotics, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF FLORIDA, GAINESVILLE DIVISION

 Case number (if known)               18-10018
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $          528,343.13

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $          528,343.13


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        2,083,844.18


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $               4,110.25

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        1,478,666.70


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          3,566,621.13




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
                                    Case 18-10018-KKS                    Doc 53      Filed 03/01/18           Page 2 of 45
 Fill in this information to identify the case:

 Debtor name          Prioria Robotics, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA, GAINESVILLE DIVISION

 Case number (if known)         18-10018
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Wells Fargo Bank, N.A.                                 Business Checking                4140                              Undetermined




            3.2.     Bank of America                                        Business Checking                6827                              Undetermined



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                             $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Lease Security Deposit                                                                                                          $3,530.00




            7.2.     Gainesville Regional Utilities                                                                                                  $2,300.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                    Case 18-10018-KKS                        Doc 53         Filed 03/01/18           Page 3 of 45

 Debtor            Prioria Robotics, Inc.                                                             Case number (If known) 18-10018
                   Name




            7.3.     City of Gainesville                                                                                                            $5,000.00




            7.4.     JD Rentals                                                                                                                       $400.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepaid expenses as of 9/30/17                                                                                               $65,649.69




 9.         Total of Part 2.                                                                                                                  $76,879.69
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                                46,764.30   -                                   0.00 = ....                  $46,764.30
                                              face amount                               doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                                  $46,764.30
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last               Net book value of         Valuation method used    Current value of
                                                      physical inventory             debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 19.        Raw materials
            Inventory and Assembly                                                                  $0.00                                        $268,896.86



 20.        Work in progress

 21.        Finished goods, including goods held for resale
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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                                    Case 18-10018-KKS                      Doc 53       Filed 03/01/18        Page 4 of 45

 Debtor         Prioria Robotics, Inc.                                                           Case number (If known) 18-10018
                Name



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                             $268,896.86
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Furniture and Fixtures as of 9/30/17                                                $0.00    NBV                                          $0.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer Hardware as of 9/30/17                                                 $7,724.89    NBV                                    $7,727.89


           Computer Software as of 9/30/17                                                     $0.00    NBV                                          $0.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $7,727.89
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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                                    Case 18-10018-KKS                    Doc 53      Filed 03/01/18        Page 5 of 45

 Debtor         Prioria Robotics, Inc.                                                        Case number (If known) 18-10018
                Name


             No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value          debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.    2013 Trailer                                                       $1,190.00    NBV                                    $1,190.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Machinery and Equipment as of 9/30/17                                    $126,884.39     NBV                                 $126,884.39



 51.        Total of Part 8.                                                                                                         $128,074.39
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Patents and Trademarks                                                 Undetermined                                       Undetermined


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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                                    Case 18-10018-KKS                    Doc 53      Filed 03/01/18       Page 6 of 45

 Debtor         Prioria Robotics, Inc.                                                       Case number (If known) 18-10018
                Name



 61.        Internet domain names and websites
            www.prioria.com                                                        Undetermined                                   Undetermined



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Intellectual Property - see attached                                   Undetermined                                  Undetermined



 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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                                 Case 18-10018-KKS                Doc 53          Filed 03/01/18             Page 7 of 45


Intellectual Property (Active)
Home for our intellectual property information.



Patents

 Name                                                      Inventor      Status        Patent            USPTO ID              Date          Assignee
                                                                                       Number

 Fault-aware matched filter and optical flow DIVISIONAL    Hunt          Filed                                                 02/2017
 #3

 Fault-aware matched filter and optical flow DIVISIONAL    Hunt          Filed
 #2

 Priority Contact Transport Stream DIVISIONAL #2           Hunt          Filed

 Priority Contact Transport Stream #1                      Hunt          Issued                         US20130163816A1        12/23/2011    Prioria Robotics,
                                                                                                                                             Inc.

 Fault-aware matched filter and optical flow #1            Hunt          Issued                         US20110116584          5/27/2010     Prioria Robotics,
                                                                                                                                             Inc.

 Virtual serial-stream processing system and method        Hunt          Abandoned?                     US20080320284          6/20/2007     Prioria Robotics,
                                                                                                                                             Inc.

 System and method for onboard vision processing           Grzywna       Issued       8,855,846         US20070093945          10/22/2005    Prioria Robotics,
                                                                                                                                             Inc.




Licensed Patents

 Name                                                                Inventor     Status            Patent            USPTO ID        Date           Assignee
                                                                                                    Number

 Bendable wing for micro-air vehicle                              Ifju            Issued                              US 7331546      12/9/2002     UFLO

 Airfoil for micro-air vehicle                                    Ifju            Issued                              US 7487937      3/30/2006     UFLO

 Device and methods for enhanced matched filtering based on       Principe, et    Issued                              US 8233873      9/29/2006     UFLO
 correntropy                                                      al

 Optimum non-linear correntropy filter                            Principe, et    Issued                              US8244787       10/31/2006    UFLO
                                                                  al

 Robust signal-detection using correntropy                        Principe, et    Issued                              US 8611839      4/29/2007     UFLO
                                                                  al

 Systems and methods for estimating the structure and motion of   Dixon, et al    Published,                          61/496,191      6/13/2011     UFLO
 an object                                                                        pending

 Image-based system and methods for vehicle guidance and          Dixon, et al    Issued                              US 8320616      8/21/2006     UFLO
 navigation

 Systems and methods for estimating pose                          Dixon, et al    Published,                          US              6/22/2010     UFLO
                                                                                  pending                             13/701,153




Trademarks

 Mark                        Status       Serial Number   Registration Number      Filing Date    Assignee

 Merlin Nano                Planning

 Jormungand                 In progress

 Nightfury                  In progress

 Prioria                    In progress

 Merlin Vision Autopilot    Filed         87/046,637                              May 23, 2016

 Merlin Autopilot           Filed         87/046,632                              May 23, 2016

 Leviathan                  Filed         86/919,637                              Feb. 25, 2016   Prioria Robotics Holdings, Inc.
                Case 18-10018-KKS         Doc 53   Filed 03/01/18             Page 8 of 45

Maveric      Live    77323911   3894230            Nov. 7, 2007    Prioria Robotics, Inc.

Merlin       Live    77317198   3799992            Oct. 30, 2007   Prioria Robotics, Inc.

Terrascope   Live    85066355   4007385            Jun. 18, 2010   Prioria Robotics, Inc.

Merlin Cam   Dead    85066389                      Jun. 18, 2010   Prioria Robotics, Inc.
                                      Case 18-10018-KKS                              Doc 53             Filed 03/01/18                Page 9 of 45

 Debtor          Prioria Robotics, Inc.                                                                              Case number (If known) 18-10018
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $76,879.69

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $46,764.30

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $268,896.86

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $7,727.89

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $128,074.39

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $528,343.13           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $528,343.13




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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                                      Case 18-10018-KKS                     Doc 53           Filed 03/01/18        Page 10 of 45
 Fill in this information to identify the case:

 Debtor name          Prioria Robotics, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA, GAINESVILLE DIVISION

 Case number (if known)              18-10018
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Condor Aerial, LLC                            Describe debtor's property that is subject to a lien              $1,531,048.27           Undetermined
        Creditor's Name                               All Assets
        1012 Village Lake Dr.
        Monroe, NC 28110
        Creditor's mailing address                    Describe the lien
                                                      Judgment Liens
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Novus Capital Group, LLC                      Describe debtor's property that is subject to a lien                $539,704.87           Undetermined
        Creditor's Name                               All Assets
        c/o Jack M. Ross, Esq.
        4046 Newberry Rd.
        Gainesville, FL 32607
        Creditor's mailing address                    Describe the lien
                                                      Security Interest
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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                                     Case 18-10018-KKS                      Doc 53           Filed 03/01/18          Page 11 of 45
 Debtor       Prioria Robotics, Inc.                                                                   Case number (if know)       18-10018
              Name

         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Susquehanna Commercial
 2.3                                                                                                                            $13,091.04                  $0.00
        Finance, Inc.                                 Describe debtor's property that is subject to a lien
        Creditor's Name                               Goods, Software and Equipment
        2 Country View Rd., #300
        Malvern, PA 19355
        Creditor's mailing address                    Describe the lien
                                                      Security Interest
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.4    WebBank                                       Describe debtor's property that is subject to a lien                           $0.00                  $0.00
        Creditor's Name                               Computer equipment
        6440 S. Wasatch Blvd.,
        #300
        Salt Lake City, UT 84121
        Creditor's mailing address                    Describe the lien
                                                      Security Interest
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $2,083,844.1
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         8

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                                  Case 18-10018-KKS                  Doc 53    Filed 03/01/18          Page 12 of 45
 Debtor       Prioria Robotics, Inc.                                                     Case number (if know)      18-10018
              Name

        Name and address                                                                        On which line in Part 1 did       Last 4 digits of
                                                                                                you enter the related creditor?   account number for
                                                                                                                                  this entity
        BB&T Commercial Equipment Capital
        P.O. Box 896534                                                                         Line   2.3
        Charlotte, NC 28289-6534

        Novus Capital Group, LLC
        4500 SW Kruse Way, #170                                                                 Line   2.2
        Lake Oswego, OR 97035




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 3
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                                  Case 18-10018-KKS                           Doc 53             Filed 03/01/18              Page 13 of 45
 Fill in this information to identify the case:

 Debtor name         Prioria Robotics, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA, GAINESVILLE DIVISION

 Case number (if known)          18-10018
                                                                                                                                            Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim          Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                  Undetermined            Unknown
           Abdulrahim, Mujahid                                       Check all that apply.
           13718 NW 30th RD,                                          Contingent
           Gainesville, FL 32606                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $4,110.25         $4,110.25
           Alachua Tax Collector                                     Check all that apply.
           5830 NW 34th Blvd.                                         Contingent
           Gainesvile, FL 32653-2115                                  Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Prioria Robotics, Inc.                                                                          Case number (if known)   18-10018
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          John Bartos                                                Check all that apply.
          6130 NW 38th Terrace                                        Contingent
          Gainesville, FL 32653                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Steven Bishop                                              Check all that apply.
          1013 Wyndham Way                                            Contingent
          Safety Harbor, FL 34695                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Bratcher Jr., Walter E                                     Check all that apply.
          5100 NE 20th Street,                                        Contingent
          Ocala, FL 34470                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Brown, Patricia                                            Check all that apply.
          4264 SW 22nd Lane, Unit 108                                 Contingent
          Gainesville, FL 32607                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Robert Call                                                Check all that apply.
          13804 NW 146th Ave.                                         Contingent
          Alachua, FL 32615                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          da Frota, Bryan S                                          Check all that apply.
          3925 NW 23rd Ter,                                           Contingent
          Gainesville, FL 32605                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Dee, Justin                                                Check all that apply.
          4127 NW 36th ST,                                            Contingent
          Gainesville, FL 32605                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Franker, Bryan P                                           Check all that apply.
          3381 Shinnecock Lane,                                       Contingent
          Green Cove Springs, FL 32043                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Grzywna, Jason                                             Check all that apply.
          3902 SW 97th Dr,                                            Contingent
          Gainesville, FL 32608                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          John Hatfield                                              Check all that apply.
          P.O. Box 140944                                             Contingent
          Gainesville, FL 32614                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Walter Lee Hunt, Jr.                                       Check all that apply.
          10207 SW 101st Ave.                                         Contingent
          Gainesville, FL 32608                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Operations                           Contingent
          P.O. Box 7346                                               Unliquidated
          Philadelphia, PA 19101-7346                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Lee, Devron H                                              Check all that apply.
          14709 Summer Rose Way,                                      Contingent
          Fort Myers, FL 33919                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Morgan, John                                               Check all that apply.
          429 W Maxwell St,                                           Contingent
          Lakeland, FL 33803                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Mungas, Christopher D                                      Check all that apply.
          10351 Valley Drive,                                         Contingent
          Plymouth, CA 95669                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Patel, Darsan                                              Check all that apply.
          7128 SW 80th Ter,                                           Contingent
          Gainesville, FL 32608                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Scannella, Ashley                                          Check all that apply.
          3812 NW 25th Ter,                                           Contingent
          Gainesville, FL 32605                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Scannella, Susan                                           Check all that apply.
          9140 SW 48th Place Apt B,                                   Contingent
          Gainesville, FL 32608                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Randy Schonhoff                                            Check all that apply.
          100 Stone Hill Dr.                                          Contingent
          Maitland, FL 32751                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Slack, Elliot M                                            Check all that apply.
          10351 Valley Drive,                                         Contingent
          Plymouth, CA 95669                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Spears, Anthony                                            Check all that apply.
          716 Long Lake Drive,                                        Contingent
          Oviedo, FL 32765                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Douglas Strickland                                         Check all that apply.
          11428 SW Archer Rd.                                         Contingent
          Gainesville, FL 32608                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Thomas, Gene                                               Check all that apply.
          P.O. Box 468,                                               Contingent
          Worthington Springs, FL 32697                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Undetermined    Unknown
          Turner, Stephen                                            Check all that apply.
          2236 NW 7th LN,                                             Contingent
          Gainesville, FL 32603                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.27       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                     Undetermined           Unknown
            Weibley, Nate                                            Check all that apply.
            3425 NW 10th Ave,                                         Contingent
            Gainesville, FL 32605                                     Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.28       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                     Undetermined           Unknown
            White, Jordan                                            Check all that apply.
            7866 SW 82nd Dr,                                          Contingent
            Gainesville, FL 32608                                     Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.29       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                     Undetermined           Unknown
            Wininger, Steven D                                       Check all that apply.
            5427 E 3rd Street,                                        Contingent
            Tucson, FL 85711                                          Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.30       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                     Undetermined           Unknown
            Boris Yaw                                                Check all that apply.
            6823 SW 53rd Ave.                                         Contingent
            Gainesville, FL 32608                                     Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     and/or Contributions to employee benefit plans
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




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 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,002.00
          3D Systems, Inc                                                     Contingent
          P.O. Box 534963                                                     Unliquidated
          Atlanta, GA 30353-4963                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,177.64
          Absolute Cleaning Services                                          Contingent
          10841 NE 105th Avenue                                               Unliquidated
          Archer, FL 32618                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $552.94
          Advantage Capital                                                   Contingent
          190 Carondelet Plaza, Ste 1500                                      Unliquidated
          Clayton, MO 63105                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,455.20
          American Matrixx, LLC                                               Contingent
          PO Box 868                                                          Unliquidated
          Atlanta, TX 75551                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $337.77
          AT&T / Bellsouth                                                    Contingent
          PO Box 105262                                                       Unliquidated
          Atlanta, GA 30348-5262                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,975.00
          Ausley & McMullen P.A.                                              Contingent
          PO Box 391                                                          Unliquidated
          Tallahassee, FL 32302                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,772.60
          Balboa Capital Corporation                                          Contingent
          PO BOX 844803                                                       Unliquidated
          Los Angeles, CA 90084-4803                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,072.15
          Bank of America, Business Card                                      Contingent
          PO Box 15796,                                                       Unliquidated
          Wilmington, DE 19886-5796                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,404.62
          Bank of America, Business Card                                      Contingent
          PO Box 15796,                                                       Unliquidated
          Wilmington, DE 19886-5796                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,654.00
          BB&T Commercial Equipment Capital                                   Contingent
          PO Box 896534                                                       Unliquidated
          Charlotte, NC 28289-6534                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,512.78
          Blueshift IP, LLC                                                   Contingent
          c/o Analytix Solutions                                              Unliquidated
          800 Cummings Park Drive, Ste 2000                                   Disputed
          Woburn, MA 01801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $138.63
          CBIZ                                                                Contingent
          PO Box 72364                                                        Unliquidated
          Cleveland, OH 44192-0002                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $290.67
          CDW Direct                                                          Contingent
          200 N Milwaukee Ave                                                 Unliquidated
          Vernon Hills, IL 60061                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,880.00
          Christopher L Jacobs                                                Contingent
          222 Crooked Tree Trail                                              Unliquidated
          Deland, FL 32724                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $215,508.80
          City of Gainesville                                                 Contingent
          Billing and Collection                                              Unliquidated
          P.O. Box 490, STA 47                                                Disputed
          Gainesville, FL 32627
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $96.00
          Clay Electric Cooperative, Inc.                                     Contingent
          PO BOX 308                                                          Unliquidated
          Keystone Heights, FL 32656-0308                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $935.04
          Clifton Larson Allen LLP                                            Contingent
          PO BOX 740863                                                       Unliquidated
          Atlanta, GA 30374-0863                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $280.43
          CopyFax Inc. of Gainesville                                         Contingent
          605 NW 53rd Avenue Suite B                                          Unliquidated
          Gainesville, FL 32609                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,394.07
          Cushnoc Group, LLC                                                  Contingent
          PO Box 498038                                                       Unliquidated
          Cincinnati, OH 45249                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,284.96
          Dell Business Credit                                                Contingent
          P.O. Box 5275                                                       Unliquidated
          Carol Stream, IL 60197-5275                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,536.25
          Deltek, Inc.                                                        Contingent
          PO Box 79581                                                        Unliquidated
          Baltimore, MD 21279-0581                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,242.00
          Demmer Corporation                                                  Contingent
          24830 Network Place                                                 Unliquidated
          Chicago, IL 60673-1248                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,751.29
          Enterprise Holdings, Inc                                            Contingent
          PO Box 402383                                                       Unliquidated
          Atlanta, GA 30384-2383                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,546.68
          Fibrtec                                                             Contingent
          1000 Progress Drive                                                 Unliquidated
          Atlanta, TX 75551                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,116.88
          Fidelity Investments                                                Contingent
          PO Box 73307                                                        Unliquidated
          Chicago, IL 60673-7307                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $172,800.00
          Florida Dept of Economic Opportunity                                Contingent
          107 East Madison Street                                             Unliquidated
          Tallahassee, FL 32399                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $94.67
          Florida Pest Control                                                Contingent
          116 NW 16th Ave                                                     Unliquidated
          Gainesville, FL 32627-5369                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,395.00
          Gainesville Area Chamber of Commerce                                Contingent
          300 E Univeristy Ave Ste 100                                        Unliquidated
          Gainesvile, FL 32601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,025.00
          Gainesville Council                                                 Contingent
          for Economic Outreach                                               Unliquidated
          300 E Univeristy Ave Ste 100                                        Disputed
          Gainesvile, FL 32601
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,337.91
          Gainesville Regional Utilities                                      Contingent
          P.O. Box 147051                                                     Unliquidated
          Gainesville, FL 32614-7051                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,643.90
          Gilligan, Gooding & Franjola, P.A.                                  Contingent
          1531 SE 36th Avenue                                                 Unliquidated
          Ocala, FL 34471                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,000.00
          Global Capital Markets Incorporated                                 Contingent
          19100 Von Karman Ave, #950                                          Unliquidated
          Irvine, CA 92612                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,805.00
          Gunderson Dettmer                                                   Contingent
          1200 Seaport Blvd                                                   Unliquidated
          Redwood City, CA 94063                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $426.10
          Hertz Corporation                                                   Contingent
          PO Box 121124                                                       Unliquidated
          Dallas, TX 75312-1124                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,833.51
          HSH Analytics LLC                                                   Contingent
          PO Box 676                                                          Unliquidated
          Hartwood, VA 22471                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $319,346.30
          Hutchison Law Group                                                 Contingent
          3110 Edwards Mill Rd Ste 300                                        Unliquidated
          Raleigh, NC 26712                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $622.52
          Insperity Time and Attendance                                       Contingent
          P.O. Box 846055                                                     Unliquidated
          Dallas, TX 75284-6055                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,832.83
          IPFS Corporation                                                    Contingent
          900 Ashwood Parkway Suite 370                                       Unliquidated
          Atlanta, GA 30338                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,400.00
          J. D. Rentals                                                       Contingent
          P. O. Box 188                                                       Unliquidated
          Worthington Springs, FL 32697                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,999.98
          LES-QUE TWO, Inc.                                                   Contingent
          P.O. Box 22                                                         Unliquidated
          Worthington Springs, FL 32697                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Lind, Richard                                                       Contingent
          13145 SW 2nd Avenue                                                 Unliquidated
          Newberry, FL 32669                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,100.00
          Martin Simpson                                                      Contingent
          8005 SW 47th Court                                                  Unliquidated
          Gainesville, FL 32608                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Matthew Freedman                                                    Contingent
          1101 30th Street NW, Suite 500                                      Unliquidated
          Washington, DC 20007                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,795.84
          McGurn Investment Company                                           Contingent
          101 SE 2nd Place, #202                                              Unliquidated
          Gainesville, FL 32601                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,089.86
          Molloy, Richard                                                     Contingent
          Florida Gulfshore Capital                                           Unliquidated
          2640 Golden Gate Parkway #105                                       Disputed
          Naples, FL 34105
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49.84
          Mouser Electronics                                                  Contingent
          PO Box 99319                                                        Unliquidated
          Fort Worth, TX 76199-0319                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,440.00
          Mujahid Abdulrahim                                                  Contingent
          13718 NW 30th RD                                                    Unliquidated
          Gainesville, FL 32606                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,134.00
          National Defense Industrial Association                             Contingent
          2111 Wilson Boulevard Ste 400                                       Unliquidated
          Arlington, VA 22201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,585.12
          Optum Bank                                                          Contingent
          PO Box 60099,                                                       Unliquidated
          Newark, NJ 07101-8052                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,490.00
          Patel, Darsan                                                       Contingent
          7128 SW 80th Terrace                                                Unliquidated
          Gainesville, FL 32608                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          Personnel Security Management, Inc                                  Contingent
          337 Spry Island Road                                                Unliquidated
          Joppa, MD 21085                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,188.00
          Pillsbury Winthrop Shaw Pittman LLP                                 Contingent
          PO Box 601240                                                       Unliquidated
          Charlotte, NC 28260-1240                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,178.64
          Principal Financial Group                                           Contingent
          PO Box 10372                                                        Unliquidated
          Des Moines, IA 50306-0372                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,000.00
          Ramsey UAS Consulting                                               Contingent
          6009 Macon Circle                                                   Unliquidated
          Huntsville, AL 35802                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $430.95
          Renaissance Printing                                                Contingent
          4130 NW 16th Blvd                                                   Unliquidated
          Gainesvile, FL 32605                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,432.50
          Rhoads & Reed, PLLC                                                 Contingent
          504 A Street, SE                                                    Unliquidated
          Washington, DC 20003                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,067.90
          Robert Plotkin, PC                                                  Contingent
          800 West Cummings Park , #2000                                      Unliquidated
          Woburn, MA 01801                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $147.75
          Samtec                                                              Contingent
          3837 Reliable Parkway                                               Unliquidated
          Chicago, IL 60686-0038                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,831.80
          Southern Export Services, Inc                                       Contingent
          5192 Southridge Parkway Suite 109                                   Unliquidated
          College Park, GA 30349                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,000.00
          Southern Strategy Group                                             Contingent
          PO Box 10570                                                        Unliquidated
          Tallahassee, FL 32302                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $984.74
          Staples                                                             Contingent
          Dept ATL P.O. Box 405386                                            Unliquidated
          Atlanta, GA 30384-5386                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,481.25
          Stephen Meuse, LLC                                                  Contingent
          50 Langdon Ave                                                      Unliquidated
          Watertown, MA 02472                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,381.33
          Sunburst Electronics                                                Contingent
          PO Box 3428                                                         Unliquidated
          Erie, PA 16508                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Prioria Robotics, Inc.                                                                  Case number (if known)            18-10018
              Name

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,400.00
          Tallahasse Community College                                        Contingent
          75 College Drive, Suite 204                                         Unliquidated
          Havana, FL 32333                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150.00
          Taurus Engineering                                                  Contingent
          1375 Willow Lake Blvd                                               Unliquidated
          St Paul, MN 55110-5244                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,696.40
          Tyco- Simplex Grinnell                                              Contingent
          Dept. CH 10320                                                      Unliquidated
          Palatine, IL 60055-0320                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          UF (MIST) Board of Trustees
          UF Office of Research                                               Contingent
          33 Tigert Hall                                                      Unliquidated
          PO Box 113001                                                       Disputed
          Gainesville, FL 32611-3001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,990.50
          UF Research FDT                                                     Contingent
          288 Grinter Hall                                                    Unliquidated
          PO Box 115500                                                       Disputed
          Gainesville, FL 32611-5500
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $73,000.00
          University of Florida Board of Trustees                             Contingent
          Contracts and Grants                                                Unliquidated
          PO Box 113001                                                       Disputed
          Gainesvile, FL 32611-3001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $108.58
          UPS                                                                 Contingent
          P.O. Box 7247-0244                                                  Unliquidated
          Philadelphia, PA 19170-0001                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Prioria Robotics, Inc.                                                                  Case number (if known)            18-10018
              Name

 3.71      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $9,617.97
           Virginia Polytechnic Institute                                     Contingent
           Office of Sponsored Programs                                       Unliquidated
           300 Turner Street, Suite 4200                                      Disputed
           Blacksburg, VA 24061
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.72      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,073.06
           WCA Waste Corporation                                              Contingent
           PO Box 553166                                                      Unliquidated
           Detroit, MI 48255                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $35,951.28
           Wells Fargo Revolving Credit                                       Contingent
           PO Box 6426,                                                       Unliquidated
           Carol Stream, IL 60197-6426                                        Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,592.27
           Westin Hotels & Resorts                                            Contingent
           801 N Glebe Road                                                   Unliquidated
           Arlington, VA 22203                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $300.00
           White, Jordan L.                                                   Contingent
           7866 SW 82nd Dr                                                    Unliquidated
           Gainesville, FL 32608                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $17,496.00
           WinTec Arrowmaker, Inc.                                            Contingent
           12821 Old Fort Road Suite 302                                      Unliquidated
           Fort Washington, MD 20744                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts

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              Name

 5a. Total claims from Part 1                                                                       5a.       $               4,110.25
 5b. Total claims from Part 2                                                                       5b.   +   $           1,478,666.70

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $             1,482,776.95




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 Fill in this information to identify the case:

 Debtor name         Prioria Robotics, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA, GAINESVILLE DIVISION

 Case number (if known)         18-10018
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Prioria Robotics, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA, GAINESVILLE DIVISION

 Case number (if known)         18-10018
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Prioria Robotics                                                                   WebBank                         D       2.4
             Holdings, Inc.                                                                                                      E/F
                                                                                                                                G



    2.2      Prioria Robotics                                                                   Novus Capital Group,            D       2.2
             Holdings, Inc.                                                                     LLC                              E/F
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 1
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1
  The information contained in these schedules is to the best of the Debtor’s information,
knowledge, and belief, and reflects the most recent information available to the Debtor. In
compiling these schedules and statement of financial affairs, the Debtor was limited by a lack of
access to its books and records, which were seized pre-petition by a creditor pursuant to state law
and have not been recovered to date.
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 Fill in this information to identify the case:

 Debtor name         Prioria Robotics, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF FLORIDA, GAINESVILLE DIVISION

 Case number (if known)         18-10018
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                             Undetermined
       From 1/01/2018 to Filing Date                                                                        Gross
                                                                                                Other      Revenues/Sales


       For prior year:                                                                          Operating a business                             Undetermined
       From 1/01/2017 to 12/31/2017                                                                         Gross
                                                                                                Other      Revenues/Sales


       For year before that:                                                                    Operating a business                             Undetermined
       From 1/01/2016 to 12/31/2016                                                                         Gross
                                                                                                Other      Revenues/Sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                   Value of property

       Condor Aerial, LLC                                       Levy on assets - see attached                                  January 19,             Undetermined
       1012 Village Lake Dr.                                                                                                   2018
       Monroe, NC 28110


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Prioria Robotics, Inc., Plaintiff                                           Alachua County Circuit                      Pending
               and Counter-Defendant v                                                     Court                                       On appeal
               Condor Aerial, LLC,                                                                                                       Concluded
               Defendant and
               Counter-Plaintiff
               Case No. 2015-2544

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                               Value


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 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                  Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                    Date transfer          Total amount or
               Address                                          payments received or debts paid in exchange               was made                        value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

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                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was              Last balance
                Address                                         account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
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      medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Patricia Brown                                                                                                             2013 - 2017


       26a.2.       Cushnoc Group, LLC                                                                                                         2013 - 2016
                    P.O. Box 498038
                    Cincinnati, OH 45249
       26a.3.       Kerkering, Barberio & Co.
                    P.O. Box 49348
                    Gainesville, FL 32601-3346

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement

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          within 2 years before filing this case.

           None
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Kerkering, Barberio & Co.
                    P.O. Box 49348
                    Gainesville, FL 32601-3346

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Stephen Turner                                                                                     President and COO


       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Jason Grzywna                                                                                      Vice President


       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Geoffrey Flagg                                                                                     CEO


       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Prioria Robotics Holdings,                                                                         Shareholder                            100%
       Inc.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

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 Debtor      Prioria Robotics, Inc.                                                                     Case number (if known) 18-10018




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Prioria Robotics Holdings, Inc.                                                                            EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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  The information contained in these schedules is to the best of the Debtor’s information,
knowledge, and belief, and reflects the most recent information available to the Debtor. In
compiling these schedules and statement of financial affairs, the Debtor was limited by a lack of
access to its books and records, which were seized pre-petition by a creditor pursuant to state law
and have not been recovered to date.
